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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

PO K. LIN,

Plaintiff,
DECISION AND ORDER
v.
6:lO-CV-6474 EAW
LUTHER JOEDY,

Defendant.

 

I. Background

On August 20, ZOlO, Plaintiff Po K. Lin (“Plaintift") filed this action based upon
an incident occurring on December 22, 2009, during Which it is alleged that deputies of
the l\/lonroe County Sherist Department used excessive force against Plaintiff in
violation of his constitutional rights and engaged in an assault and battery. (Dl<t. l).
Plaintiff initially named six defendants: the County of Monroe, l\/lonroe County Sheriff
Patricl< O’Flynn, the l\/lonroe County Sherist Department, and Monroe County Sheriff" s
Deputies Joedy, Thompson and l\/lurphy. (Id.). By Decision and Grder entered
December 8, 2014, summary judgment Was granted in favor of all defendants except
Monroe County Sherift`s Deputy Luther Joedy. (Dkt. 35). The remaining claims against
Deputy Joedy are asserted pursuant to 42 U.S.C. § 1983 for alleged excessive use of force
in violation of the Fourth Amendment, and pursuant to NeW York state lavv for assault

and battery.

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Plaintift` Was initially represented in this action by Christina A. Agola_Who has
since been disbarred.l (Dkt. 31). After the Court issued its Decision and Order on the
summary judgment motion that had been pending at the time of l\/[s. Agola’s disbarment,
Plaintist current attorney appeared in this action, on June 25, 2015. (See Dkt. 45). The
Court scheduled a trial to commence on April 4, 2016, but at the parties’ joint request, the
trial Was subsequently adjourned to December 2, 2016. (Dkt. 46, 53, 59). ln the
meantime, the Court granted Plaintift’ s application to conduct the depositions of Deputy
Joedy and Deputy Vincent Re, the two Monroe County Sherist Deputies Who Were
purportedly involved in the alleged incident. (Dkt. 49). Plaintist counsel deposed
Deputy Re on November 18, 20l5, and February 4, 2016. (Dkt. 65-1 at 2).

On August 22, 2016, over six years after commencement of this litigation, over six
months after the completion of Deputy Re’s deposition, almost four years after the
expiration of the statute of limitations, and less than four months prior to the rescheduled
trial date, Plaintiff filed a motion to amend the complaint to add Deputy Re as a
defendant in this action. (Dkt. 6l). Plaintiff seeks to assert an excessive use of force
claim against Deputy Re pursuant to 42 U.S.C. § 1983, and he also seeks to allege an
assault and battery claim against Deputy Re under Nevv York state lavv. (Dkt. 61-2).
Plaintiff contends that he incorrectly named “Deputy l\/lichael Thompson” as the

supervisory deputy at the scene of his alleged beating, and therefore, he seeks to

 

l Plaintiff Was also represented by Ryan C. Woodworth, Esq., an associate With l\/ls.

Agola’s office (Dkt. 28), and in fact, it appears that l\/Ir. Woodworth handled the
opposition to the summary judgment motion (Dkt. 27).

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substitute Deputy Re for “l\/lichael Thompson.” (Dkt. 6l-l at 4). Deputy Re opposes

Plaintiff` s motion to amend. For the reasons set forth below, Plaintiff`s motion is denied.

II. Rule 15 Analysis
Federal Rule of Civil Procedure l§(a)(Z) allows a party to amend his pleading

with the court’s permission if the party cannot do so as a matter of course. A court is
required to “freely give leave [to amend] when justice so requires.” Fed. R. Civ. P.
l5(a)(2). However, a proposed amendment is considered futile and leave may be
appropriately denied when the statute of limitations for asserting the amended claim has
expired. Grace v. Rosenstock, 228 F.3d 40, 53 (2d Cir. 2000). Here, there is no dispute
that the statute of limitations has run on Plaintiff"s proposed claims against Deputy Re.
(Dkt. 61-3 at 3). A § 1983 action filed in New York is subject to a three-year statute of
limitations Hogan v. Fz`scher, 738 F.3d 509, 517 (2d Cir. 2013). Claims for assault and
battery under New York law are subject to a one-year statute of limitations N.Y.
C.P.L.R. § 215(3). Thus, to avoid the statute of limitations, Plaintiff must establish that
the claim against Deputy Re relates back to the time of the original filing; otherwise, any
amendment to the complaint would be futile.

Rule lS(c) provides as follows with respect to the relation back of an amendment
to a complaint

An amendment to a pleading relates back to the date of the original

pleading when:

(A) the law that provides the applicable statute of limitations allows

relation backg
(B) the amendment asserts a claim or defense that arose out of the
conduct, transaction, or occurrence set out~_or attempted to be set

out-in the original pleading; or

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(C) the amendment changes the party or the naming of the party against
whom a claim is asserted, if Rule l5(c)(l)(B) is satisfied and if,
within the period provided by Rule 4(m) for serving the summons
and complaint, the party to be brought in by amendment
(i) received such notice of the action that it will not be

prejudiced in defending on the merits; and
(ii) knew or should have known that the action would have been
brought against it, but for a mistake concerning the proper
party’s identity.
Fed. R. Civ. P. l§(c).
Rule l5(c)(l)(C) sets forth the “federal standard for relation back.” Hogan, 738
F.3d at 5 l7. Pursuant to that section, a complaint seeking to change the named party will
relate back to the time of the original filing when the following conditions are metz (l)
the claim must have arisen out of the conduct set out in the original complaint; (2)
within the time provided for service under Rule 4(m), the party to be added must have
received notice so that he will not be prejudiced in defending the action; and (3) within
the same Rule 4(m) time period, the party to be added knew or should have known that
“but for a mistake of identity, the original action would have been brought against it. . . .”
Scott v. Vill. Of Sprz`ng Valley, 577 F. App’x 8l, 82 (2d Cir. 20l4) (citing Hogan, 738
F.3d at 517); see e.g., Relz`ance Ins. CO. v. Polsz'sz'On Corp., 292 F. App’x 106, l()6-O7
(2d Cir. 2008).
Here, the parties agree that the first element of Rule l5(c)(l)(C) has been met_in
other words, any claim against Deputy Re arises out of the conduct set forth in the
original complaint However, they disagree as to whether the second and third prongs of

the relation back test have been satisfied As set forth below, this Court finds that

Plaintiff` has failed to satisfy the requisite standard for relation back under Rule

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l5(c)(l)(C). In addition, while not raised by the parties, the Court also finds that Plaintiff
has failed to satisfy the requisite standard for relation back under Rule l5(c)(l)(A).

A. Substituting versus Adding a New Partv

Plaintiff characterizes his proposed amendment as seeking to substitute Deputy Re
for Deputy Thompson. However, as highlighted in the opposition papers, Deputy
Thompson is no longer a defendant in this action, and he has not been a defendant for
almost two years. (Dkt. 64 at 9). By Decision and Order entered December 8, 20l4,
summary judgment was granted in favor of Deputy Thompson. (Dkt. 35). Thus, Plaintiff
is arguably not seeking to substitute Deputy Re for Deputy Thompson, but rather he is
seeking to add Deputy Re as a party.

By its express language, the relation back language of Rule lS(c)(l)(C) applies to
an amendment that “changes” a party that is named due to a mistake concerning the
proper party’s identity, not to a situation where an entirely new party is being added.
Fed. R. Civ. P. l5(c)(l)(C); see Barrow v. Wethersfield Polz`ce Dep’t, 66 F.3d 466, 470
(2d Cir. l995) (“Rule l5(c) explicitly allows the relation back of an amendment due to a
‘mistake’ concerning the identity of the parties (under certain circumstances), but the
failure to identity individual defendants when the plaintiff knows that such defendants
must be named cannot be characterized as a mistake.”).

Plaintiff has not cited any case law allowing for relation back under Rule
l5(c)(l)(C) where a motion to amend is filed long after the party who was purportedly
mistakenly identified (in this case, Deputy Thompson) has been dismissed from the

litigation l\/Ioreover, while not briefed by either party, this Court’s research has revealed

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that courts appear to be split on whether relation back is allowed for amendments adding,
as opposed to substituting, a party. See 6A C. Wright, A. l\/liller, et al., Fea’eral Pmctz`ce
and Procedure § 1498.2 (3d ed. 2016) (“Many courts have liberally construed the rule to
find that amendments simply adding or dropping parties, as well as amendments that
actually substitute defendants, fall within the ambit of the rule, although some courts
have adopted a narrower construction.”).

lt does not appear that the Second Circuit Court of Appeals has directly addressed
the issue, and district courts in this Circuit have reached varying results. Compare In re
Vz'tamirz C Antitrust Lilz`gatz'on, 995 F. Supp. 2d 125, 129 (E.D.N.Y. 2014)2 (“Rule
lS(c)(l)(C) does not encompass just any mistake lt requires a mistake ‘concerning the
proper parzy’s identily.’ As a matter of plain language, this provision would appear to
include only ‘wrong party’ cases, and not ‘additional party’ cases. . . . The plaintiff has
sued the right defendant, and simply neglected to sue another defendant who might also
be liable. lf the drafters of Rule 15 had meant to allow relation back in this situation,
they could have easily done so.”), with Almazo v. M.A. Angeliades, Inc., No. ll CV
l7l7(l\/IGC), 2015 WL 6965116, at *6 (S.D.N.Y. Nov. 10, 2015) (interpreting Rule
l5(c)(1)(C) as including instances where a plaintiff “seeks to sue an additional defendant

(rather than simply a different defendant).”).

 

2 The Second Circuit Court of Appeals recently reversed the district court’s denial

of the defendants’ motion to dismiss in In re Vizamz`n C Anritrust Lz`tz`gatz'on, _ F.3d _,
Docket No. l3-4791-cv, 2016 WL 5017312 (2d Cir. Sept. 2(), 2016). The district court’s
subsequent decision with respect to Rule 15(c)(1)(C) was apparently not at issue in that
appeal.

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Because Deputy Re did not expressly raise this issue in opposition to the motion to
amend, this Court will assume for the limited purposes of this motion that Rule
lS(c)(l)(C) allows for the addition of a new party, and not simply the substitution of a
party.

B. Lack of Mistake

Plaintiff contends that l\/ls. Agola mistakenly named “l\/lichael Thompson” as the
more senior sheriff’s deputy involved in the alleged incident, instead of Deputy Re. (Dkt.
6l-l at M14-18). Although “l\/lichael Thompson” was initially named as a defendant in
this litigation, he was not referenced at all in the text of the complaint as either the more
senior sheriff’ s deputy or in any other respect. l\/loreover, as set forth in the Court’s
Decision and Order granting summary judgment, the parties agreed that there was no
individual named l\/lichael Thompson employed by the l\/lonroe County SherifF s
Department who was at the scene of the incident (Dkt. 35 at 6).3

A claim can relate back under Rule lS(c)(l)(C) where claims are seeking to
substitute one party for another because there was a mistake of fact in the original
complaint. Krupski v. Costa Crocz`ere S.p.A., 560 U.S. 538, 549 (2()1()). When a party
has a “misunderstanding about [an opposing party’s] status or role in the events giving

rise to the claim at issue . . . [t]hat kind of deliberate but mistaken choice does not

 

3 The opposition papers point out that a Deputy Michael “Thomas” was identified as

part of the Rule 26 disclosures, and that in all likelihood, the naming of “Michael
Thompson” was a typographical error, intending to reference “Michael Thomas.” (Dkt.
64 at 9). ln other words, the reference to Michael Thompson was not a mistaken
reference to Vincent Re, but rather a mistaken reference intended to mean Michael
Thomas.

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foreclose a finding that Rule 15(c)(1)(C)(ii) has been satisfied.” Id. However, “[c]laims
against any newly added defendants will not ‘relate back’ to the date of the original
complaint where the plaintiff"s failure to name the prospective defendant was ‘the result
of a fully informed decision as opposed to a mistake concerning the proper defendant’s
identity.”’ Schoolcraft v. Cily ofNew York, 81 F. Supp. 3d 295, 301 (S.D.N.Y. 2015)
(quoting Krupskz` v. Costa Crocz`ere S.p.A., 560 U.S. at 552); see, e.g., Barrow, 66 F.3d at
470.

Here, Plaintiff has not established that Deputy Re was not named as a defendant
due to some mistaken impression that it was Deputy Michael Thompson who was at the
scene. Deputy Re’s involvement in the events at issue was fully disclosed before the
filing of the original complaint Plaintiff provided his counsel with all the documentary
materials from his criminal proceeding that were relevant to the case (Dkt. 65 at 11 8), and
Deputy Re is plainly referenced on the reports from the incident (see Dkt. 64-2 at 29).
l\/loreover, Defendants’ Rule 26 disclosures dated l\/lay 2, 2011, identified Deputy Re as a
person with relevant information, and also attached documentation from the incident
identifying Deputies Re and Luther as the deputies involved. (Dkt. 64-2). “Deputy
Vincent Re #3133” is identified as one of the reporting officers on the police report
produced as part of the Rule 26 disclosures (Id. at 29). ln addition, Defendants’
summary judgment papers, including the statement of material facts not in dispute,
identifed Deputy Re as involved in the incident with Deputy Luther. (Dkt. 23-1 at 11 8).
Furthermore, in July 2013, Plaintiff admitted in response to the summary judgment

motion that Deputy Re was involved in the incident (Dkt. 27-1 at jj 8).

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As a result, this Court is hard-pressed to conclude that l\/Is. Agola’s failure to name
Deputy Re was due to mistakenly confusing his identity with Deputy Thompson. Rather,
it appears that the decision not to name Deputy Re was a deliberate choice by Ms. Agola
(albeit one apparently made without consulting her client). As a result, this requisite
element for relation back under Rule 15(c)(l)(C) has not been met

C. Deputy Re’s Requisite Notice and Knowledge Within the Rule 4(m)
Time Frame

Even if Plaintiff could establish that Deputy Thompson was mistakenly named as
a defendant instead of Deputy Re, Plaintiff still would not meet the requirements of Rule
15(0)(1)(€) because he cannot establish that Deputy Re received notice of the action and
knew or should have known4 that the action would have been brought against him within

the period for service set forth at Rule 4(m).

 

4 Neither party raised the issue as to whether Deputy Re’s notice could be implied

by virtue of the fact that he is represented by the same counsel as the other defendants
who were originally named in the complaint (i.e. the Monroe County Department of
Law). Even if that issue had been properly raised, the Court finds that it would not
change the outcome. “ln order to support an argument that knowledge of the pendency of
a lawsuit may be imputed to a defendant or set of defendants because they have the same
attorney(s), there must be some showing that the attorney(s) knew that the additional
defendants would be added to the existing suit.” Gleason v. McBride, 869 F.2d 688, 693
(2d Cir. 1989); see, e.g., Scott, 577 F. App’x at 82 (although complaint referenced
alleged conduct by individual employees, that was insufficient to put counsel on notice
that the individual defendants would be named to the existing suit, where only municipal
defendants were named as defendants). Here, there has been no showing that defense
counsel knew that Deputy Re would be added to the existing suit Defense counsel made
no secret about Deputy Re’s involvement providing disclosures on the issue in 2011 and
expressly referencing him in the summary judgment papers filed in 2013. (Dkt. 23, 64-
2). Yet, it was not until August 22, 2016, that Plaintiff sought for the first time to add
Deputy Re as a defendant Defense counsel’s lack of notice is only further supported by
the fact that Deputy Re was not notified by defense counsel about the lawsuit until 2015.
(Dkt. 54-1 at 11 4).

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Under the version of Rule 4(m) that controlled at the time this action was filed,
service was required within 120 days, but it has since been reduced to 90 days See Fed.
R. Civ. P. 4(m) advisory committee’s notes to 2015 amendment Deputy Re has
submitted a sworn declaration stating that he was not aware of the lawsuit until sometime
in 2015, long after the 120-day time period for service set forth by Rule 4(m). (Dkt. 64-1
at 113). ln fact, no Defendant in the case was served within that 120-day period. (See Dkt.
1-6).

Plaintiff argues that even though Deputy Re did not have the requisite knowledge
or notice during the 120-day period, this Court should nonetheless extend the time period
for service under Rule 4(m). Plaintiff has not cited any case law supporting his theory
that the principles underlying an extension of time under Rule 4(m) for service can also
operate to effectively extend the relevant time period for notice under Rule lS(c)(l)(C).
The Court questions whether Rule lS(c)(l)(C) should be interpreted in such a manner.
See Hogan, 738 F.3d at 517 (referencing second and third elements of Rule lS(c)(l)(C)
as requiring fulfillment within 120 days of filing of original complaint). Cf. JCG v.
Ercole, No. 11 Civ. 6844(C1\/1)(JLC), 2014 WL 1630815, at *19 (S.D.N.Y. Apr. 24,
2014), report and recommendation adopted, 2014 WL 2769120 (S.D.N.Y. June 18,
2014) (with pro se plaintiff, allowing extension under Rule 4(m) to operate to extend
time to satisfy second and third criteria for relation back under Rule l5(c)(l)(C)).

Nonetheless, even assuming that Plaintist theory is legally supportable, it is
apparent that an extension of time under Rule 4(m)~_effectively an extension of time of

almost six years_is not warranted

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Rule 4(m) permits an extension of time for service “if the plaintiff shows good
cause. . . .” Fed. R. Civ. P. 4(m). “Good cause is generally found only in exceptional
circumstances where the plaintiffs failure to make timely service was the result of
circumstances beyond his control.” Mased v. U.S. Dep’t of Agrz'c. Food & Nutriz‘z`on
Serv., 169 F.R.D. 28, 32 (W.D.N.Y. 1996). A party’s failure to act diligently can be
grounds for a refusal to extend the time for service under Rule 4(m). Sz`ms v. Wegmans
Food Markez‘, 674 F. Supp. 2d 429, 434 (W.D.N.Y. 2009) (refusing to extend the time for
service because the plaintiff did not act “diligently” when he failed to effectuate service
within two years of filing the complaint); Eastern Refractorz'es Co., Inc. v. Forly Ez`ght
Insulaz‘z`ons, Inc., 187 F.R.D. 503, 506-07 (S.D.N.Y. 1999) (finding no good cause when
the plaintiff did not move for time to extend service until thirteen years after filing the
complaint). And, “[i]t is well settled that an attorney’s inadvertence, neglect mistake or
misplaced reliance does not suffice to establish good cause for failure to make proper
service within 120 days.” sz‘rh v. Ford Moz‘or Co., No. 07-CV~4228, 2009 WL
2448472, at *3 (W.D.N.Y. Aug. 7, 2009) (quoting Mused, 169 F.R.D. at 32); see, e.g.,
Johnson v. New York Cily Bd. OfEduc., 23 F. App’x 70, 72 (2d Cir. 2001) (“attorney
neglect is not good cause” under Rule 4(m)).

Absent a showing of good cause, a district court has the discretion to grant an
extension of time for service, but is not required to do so. Zapaz‘a v. Cizy ofNew York,
502 F.3d 192, 197 (2d Cir. 2007). “Generally, when courts consider an extension of time
notwithstanding a lack of good cause, they are considering motions made by plaintiffs

prior to the expiration of the 120 day period.” Eastern Refractorz`es Co., Inc., 187 F.R.D.

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at 506. Factors that a court should consider when evaluating whether to extend the time
for service in the absence of good cause include: “‘(1) whether the applicable statute of
limitations would bar the refiled action; (2) whether the defendant had actual notice of the
claims asserted in the complaint (3) whether the defendant had attempted to conceal the
defect in service; and (4) whether the defendant would be prejudiced by the granting of
plaintiffs request for relief from the provision.”’ Morrz's v. Ford Motor Co., No. 07-CV-
424S, 2009 WL 2448473, at *3 (W.D.N.Y. Aug. 7, 2009) (quoting Beauvoz'r v. U.S_
Secret Serv., 234 F.R.D. 55, 58 (E.D.N.Y. 2006)); see Fed. R. Civ. P. 4(m) advisory
committee’s notes to 1993 amendment

Here, the only factor weighing in favor of extending the time under Rule 4(m) is
the impact that denial of the request will have on Plaintiff since the statute of limitations
has expired. While the Court does not readily discount the resulting impact on Plaintiff`s
case, nor does it dismiss the fact that the initial failure to name Deputy Re was allegedly
the result of Plaintiff’s former attorney’s negligence, the fact is that Plaintiff’ s current
attorney was retained on June 25, 2015 (Dkt. 45), but this pending motion to amend was
not filed until over one year later. This hardly constitutes due diligence in pursuing the
amendment even once new counsel became involved. lt certainly does not demonstrate
a “colorable excuse for neglect.” Zapara, 502 F.3d at 198.

l\/loreover, considering that Deputy Re did not have actual notice of the claims
asserted in the complaint within the statute of limitations, that there was never any
attempt to name him or serve him until almost seven years after the incident and that

Deputy Re would be prejudiced if forced to defend this litigation at this late stage of the

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proceedings it is apparent that an extension of time under Rule 4(m) would not be
warranted

ln sum, even if the ability to extend time under Rule 4(m) could operate to extend
the time limits set forth in Rule lS(c)(l)(C) for the requisite notice and knowledge on the
part of Deputy Re, there would be no basis for this Court to extend those time limits
under Rule 4(m) by the almost six years that Plaintiff seeks in this case.

D. Pre]`udice

Finally, even if all the above elements of Rule l5(c)(l)(C) could be met Deputy
Re would be prejudiced in defending this action on the merits Rule 15(c)(l)(C)(i)
requires Deputy Re to have received such notice of the action during the requisite time
period that he will not be prejudiced in defending on the merits

The Court recognizes that an amendment proposed after discovery has been
completed is “especially prejudicial” to the non-moving party. Krum)ne v. WestPoz`nz‘
Stevens Inc., 143 F.3d 71, 88 (2d Cir. 1998). lndeed, “[o]ne of the most important
considerations in determining whether amendment would be prejudicial is the degree to
which it would delay the final disposition of the action.” Id. This matter has been
pending for more than six years, and is scheduled to go to trial in approximately two
months (See Dkt. 1, 59). The Court understands that Deputy Re has already been
deposed by Plaintiff in this action. (Dkt. 65-1 at 2). Although this may imply that the
case would continue without delay, Plaintiff’ s papers suggest that delay is inevitable if

Deputy Re is added when he argues that there is no prejudice because Deputy Re “may

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apply for an extension of time to file a summary judgment motion.” (Dkt. 65-2 at 6).5
Additional dispositive motions will postpone the resolution of this case and finality for all
involved, including Plaintiff. The expected delay in resolving the case suggests that the
other remaining defendant will be prejudiced by the substitution of Deputy Re.
Similarly, such an outcome would prejudice Deputy Re by forcing him to defend a suit
well after discovery has closed, and almost seven years after the underlying events
occurred Deputy Re’s ability to remember the interaction with Plaintiff does not mean
that Deputy Re will not be prejudiced by being hauled into court years after the alleged
incident as Plaintiff argues (See Dkt. 65-1 at 2).

The Court is aware that declining to allow PlaintifPs claims to proceed against the
person who allegedly perpetrated the unconstitutional excessive force significantly
impacts Plaintiff’s case. However, substantial prejudice would accrue to both Deputy Re
and the other remaining defendant if Deputy Re was substituted at this late date.
Balancing the equities between the parties, the Court finds that the prejudice to Deputy
Re outweighs the harm to Plaintiff, who was not diligent in pursuing his claims against
Deputy Re and who can still move forward against the remaining defendant

E. Relation Back Under State Law

ln the context of this case, where Plaintiff seeks to assert § 1983 and state law
claims against Deputy Re, Rule l5(c)(1)(A) instructs courts to utilize New York state law

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for relation back if it provides “a ‘more forgiving principle of relation back. . .

 

5 The Court is not guided by a “zeal for a tidy calendar,” but by the prejudice to
Deputy Re if he is added to the case at this late date. See Gallo v. Cily of New York, 540
F. App’x 45, 47 (2d Cir. 2013).

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Hogan, 738 F.3d at 517 (since § 1983 derives its statute of limitations from state law, it is
appropriate to consider applicability of state law relation back doctrine to ascertain
whether it provides a more generous application of relation back for statute of limitations
purposes). Plaintiff does not argue for relation back under New York state law.
Nonetheless, for the sake of completeness, the Court addresses whether Plaintiff may
assert claims against Deputy Re within the applicable statute of limitations pursuant to
Rule 15(c)(1)(A).

New York law provides two mechanisms for relation back_-sections 203 and
1024 of New York’s Civil Practice Law and Rules N.Y. C.P.L.R. § 1024 is not
applicable here, since it involves use of a John Doe procedure to identity unknown
defendants No John Does were named as defendants in this case. (See Dkt. l).

N.Y. C.P.L.R. § 203 is New York’s general relation back statute. lt provides as
follows: “In an action which is commenced by filing, a claim asserted in the complaint is
interposed against the defendant or a co-defendant united in interest with such defendant
when the action is commenced.” N.Y. C.P.L.R. § 203(c). Pursuant to this provision,
claims against a new defendant will relate back to the filing of the original pleading if the
following elements are metz

(1) the new claim arose out of the same conduct transaction or occurrence

as the original allegations; (2) the new party is united in interest with the

original defendant and by reason of that relationship can be charged with

such notice of the institution of the action that he will not be prejudiced in

maintaining his defense on the merits; and (3) the new party knew or

should have known that but for a mistake as to the identity of the proper
parties, the action would have been brought against him as well.

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JCG v. Ercole, 2014 WL 1630815, at *15 (quoting Fisher v. Cly. ofNassau, No. lO-CV-
0677, 2011 WL 4899920, at *5 (E.D.N.Y. Oct. 13, 2011)).

As with the Rule 15(c)(1)(C) analysis there is no dispute that the claims against
Deputy Re arise out of the same conduct transaction, or occurrence as the original
allegations However, Plaintiff cannot meet the second and third elements of relation
back under N.Y. C.P.L.R. § 203.

Deputy Re is not united in interest with Deputy Luther (or Deputy Thompson)
such that by reason of their relationship Deputy Re can be charged with notice of the
institution of the action so that he will not be prejudiced in maintaining his defense on the
merits As explained by the Court in Amaya v. Garden Cin lrrz`gaz‘z'on, lnc., 645 F. Supp.
2d 116 (E.D.N.Y. 2009):

the question of unity of interest is to be determined from an examination of

(1) the jural relationship of the parties whose interests are said to be united

and (2) the nature of the claim asserted against them by the plaintiff . . .

The rather lofty phrase “jural relationship” simply means a legal

relationship giving rise to potential liability. The most frequently cited

relationship creating a unity of interest is vicarious liability, such as

between an employer and employee or a corporation and its agents
Id. at 122 (internal citations and quotations omitted). Courts have found in similar
contexts_where one law enforcement officer is sought to be substituted for another in an
excessive force claim_-that the officers are not “united in interest” for purposes of N.Y.
C.P.L.R. § 203. See Ramos v. Engels, 15 CV 1081 ARR LB, 2016 WL 3619534, at *7
(E.D.N.Y. June 3, 2016), report and recommendation adopted, 2016 WL 3640684
(E.D.N.Y. June 29, 2016); JCG v. Ercole, 2014 WL 1630815, at *15. ln other words,

the claims against Deputy Luther (or Deputy Thompson) and Deputy Re “would not

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necessarily stand or fall together”_one deputy may be held liable while the other is not
because each deputy’s liability will be determined by that particular deputy’s acts or
omissions~_and therefore, the unity of interest requirement cannot be met. See Ramos,
2016 WL 3619534, at *7.

Additionally, Plaintiff cannot meet the requirements of the third prong of the N.Y.
C.P.L.R. § 203 relation back doctrine for the same reasons that he cannot establish a
mistake pursuant to Rule 15(c)(1)(C). Moran v. County of Su]j”olk, No. ll Civ.
3704)(PKC)(GRB), 2015 WL 1321685, at *7 (E.D.N.Y. Mar. 24, 2015) (“Since Plaintiff
cannot satisfy Rule 15(c)’s mistake element he also cannot satisfy the third prong of
§ 203(c).”). 1n other words, the “mistake” element of § 203(0) has been interpreted as
employing the same standard as the “mistake” requirement of Rule l5(c)(l)(C). Doe v.
New York, 97 F. Supp. 3d 5, 20 (E.D.N.Y. 2015),' See also Brz'ggs v. County ofMonroe,
09-CV-6147W, 2016 WL 1296060, at * 10 (W.D.N.Y. l\/Iar. 29, 2016) (collecting cases).
III. Rule 161b[ Analysis

Separate and apart from Plaintiff” s failure to establish his entitlement to add
Deputy Re as a defendant pursuant to Rule 15(c), there is another reason that his motion
must fail-he cannot establish good cause to amend the scheduling order in this case that

required any motions to amend to be filed by June 1, 2011. (See Dkt. 13).6

 

6 A court “generally [does] not consider issues raised in a reply brief for the first

time because if [a party] raises a new argument in a reply brief [the opposing party] may
not have an adequate opportunity to respond to it.” In re Harrz`s, 464 F.3d 263, 268 n.3
(2d Cir. 2006) (citations omitted); See, e.g., Ernst Haas Sludz`o, Inc. v. Palm Press, Inc.,
164 F.3d 110, 112 (2d Cir. 1999) (“[N]ew arguments may not be made in a reply
brief . . .we decline to entertain the theories so proffered.”). Here, Plaintiff’ s original

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“Although Rule l5(a) governs the amendment of pleadings Rule 16(b) also may
limit the ability of a party to amend a pleading if the deadline specified in the scheduling
order for amendment of the pleadings has passed.” Kassner v. 2nd Ave. Delz`catessen
[nc., 496 F.3d 229, 243 (2d Cir. 2007); see, e,g., Holmes v. Grubman, 568 F.3d 329, 334-
35 (2d Cir. 2009) (“Where, as here, a scheduling order governs amendments to the
complaint . . . the lenient standard under Rule 15(a) . . . must be balanced against the
requirement under Rule 16(b) that the Court’s scheduling order shall not be modified
except upon a showing of good cause.” (internal citations and quotations omitted)).

Rule 16(b) allows the modification of a scheduling order only for “good cause and
with the judge’s consent.” Fed. R. Civ. P. 16(b)(4). An attorney’s neglect is insufficient
to establish good cause for amending a scheduling order. See Scott v. New York Cz`zy
Dept. of Correctz`on, 445 F. App’x 389, 391 (2d Cir. 2011) (affirming a district court’s
finding that attorney neglect was not good cause).

The scheduling order in this case required that any amendments to the pleadings
be filed by June 1, 2011. (Dkt. 13). l\/ls Agola’s alleged nonfeasance does not constitute
good cause to extend the deadline in the scheduling order. Before Plaintiff filed this
action, he provided l\/ls. Agola with documents that detailed Deputy Re’s involvement in
the alleged incident (Dkt. 65 at 11 8). Moreover, Defendants’ Rule 26 disclosures dated
May 2, 2011 (prior to the deadline for filing a motion to amend pleadings), identified

Deputy Re as a person with relevant information, and also attached documentation from

 

motion did not mention Rule 16; Deputy Re raised Rule 16 in his response to Plaintiff`s
motion to amend (See Dkt. 61; Dkt. 64 at 3-6). Because Deputy Re put Rule 16 at issue,
Plaintist Rule 16 argument will be considered

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the incident identifying Deputy Re as involved in the incident (Dkt. 64-2). In fact
“Deputy Vincent Re #3133” is plainly identified as one of the reporting officers on the
police report (Id. at 29).

lf Plaintiffs counsel had diligently researched Plaintiff’s case, she would have
found reference to Deputy Re and either included him in the original complaint or
amended the complaint within the time set by the scheduling order. The failure to do so
is not sufficient to establish good cause for an extension under Rule 16(b), especially at
this late stage of the proceedings

l\/loreover, Deputy Re was affirmatively referenced in the summary judgment
filings (Dkt. 23-1 at jj 8; Dkt. 27-1 at 11 8), and this Court specifically referred to Deputy
Re’s involvement as part of its Decision and Order issued in December 2014 (Dkt. 35).
Yet, it was not until August 2016, that Plaintiff filed the present motion. (Dkt. 61). This
lack of diligence cuts against any claimed good cause.

Additionally, contrary to Plaintiffs argument this Court’s decision in August
2015 , permitting Plaintiff to conduct the depositions of Deputies Luther and Re after the
deadline for completion of discovery (Dkt. 49), does not signify that this Court found
good cause to extend the deadline for amending the pleadings As discussed, there is no
good cause for such an extension.

The Court understands that Plaintiff is being punished, in part for the alleged
failure of his-now disbarred-former attorney. However, it is not the Court’s role to
right the wrongs of Plaintiff’s counsel. “[A]bsent a truly extraordinary situation, the

client is not excused from the consequences of his attorney’s nonfeasance.” Chira v.

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LockheedAz`rcraft Corp., 634 F.2d 664, 666 (2d Cir. 1980). l\/ls. Agola’s actions “may
give rise to a claim for malpractice, but [do] not constitute an extraordinary
circumstance” sufficient to require relief by the Court See Lastra v. Wez'l, Gotshal &
Manges LLP, No. 06Civ.8746, 2005 WL 551996, at *4 (S.D.N.Y. Mar. 8, 2005).
IV. Conclusion

For the foregoing reasons, Plaintiff’ s motion to amend the complaint (Dkt. 61) is
denied

SO ORDERED.

 

Dated: October 12, 2016
Rochester, New York

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